






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00293-CR






Johnny Adame, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 331ST JUDICIAL DISTRICT

NO. D-1-DC-09-301773, HONORABLE BOB PERKINS, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	Appellant Johnny Adame pled guilty to robbing a bank but not true to the State's
enhancement allegations.  A jury found the enhancements to be true and assessed punishment at
seventy-five years imprisonment.  Appellant's appointed attorney has filed a brief concluding that
the appeal is frivolous and without merit.

	Counsel's brief meets the requirements of Anders v. California, 386 U.S. 738, 743-44
(1967), by presenting a professional evaluation of the record and demonstrating that there are no
arguable grounds to be advanced.  See Penson v. Ohio, 488 U.S. 75, 80 (1988); Anders, 386 U.S. at
743-44; High v. State, 573 S.W.2d 807, 811-13 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d
684, 684 (Tex. Crim. App. 1974); Gainous v. State, 436 S.W.2d 137, 138 (Tex. Crim. App. 1969).
Appellant's attorney sent appellant a copy of the brief and advised him that he had the right to
examine the record and file a pro se brief.  See Anders, 386 U.S. at 744; Jackson v. State, 485
S.W.2d 553, 553 (Tex. Crim. App. 1972).  No pro se brief has been filed.

	Having reviewed the evidence presented to the jury and the procedures that were
observed, nothing in the record might arguably support the appeal.  We agree with counsel that the
appeal is frivolous and without merit.  We grant counsel's motion to withdraw and affirm the judgment
of conviction. (1)


					__________________________________________

					David Puryear, Justice

Before Justices Puryear, Rose and Goodwin

Affirmed

Filed:   June 13, 2012

Do Not Publish
1.   No substitute counsel will be appointed.  Should appellant wish to seek further review of
his case by the court of criminal appeals, he must either retain an attorney to file a petition for
discretionary review or file a pro se petition for discretionary review.  See generally Tex. R. App. P.
68-79 (governing proceedings in the Texas Court of Criminal Appeals).  Any petition for discretionary
review must be filed within thirty days from the date of either this opinion or the date this Court
overrules the last timely motion for rehearing filed.  See Tex. R. App. P. 68.2.  The petition must be
filed with this Court, after which it will be forwarded to the court of criminal appeals along with the
rest of the filings in the cause.  See Tex. R. App. P. 68.3, 68.7.  Any petition for discretionary review
should comply with rules 68.4 and 68.5 of the rules of appellate procedure.  See Tex. R. App. P.
68.4, 68.5.


